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                                     UNITED STATES DISTRICT COURT
                                                WESTERN DISTRICT OF TEXAS
                                                     AUSTIN DIVISION

                                                                                                                                          T
UNITED STATES OF AMERICA

V.
                                                                            Case Number: 1 :20-CR-00077-LY(2)
                                                                            USM Number: 47718-480
GLEN RICHARD JOHNSON, III
Aliases: "JG ", Glen Johnson, Glen Johnson III,
Richard Johnson, Glen R. Johnson III, Glen
Richard Johnson, Glen Johnson, and Richard
Johnson

        Defendant.

                                         JUDGMENT IN A CRIMINAL CASE
                                  (For Offenses Committed On or After November 1, 1987)

        The defendant, GLEN RICHARD JOHNSON, III, was represented by Amber Vazquez.

        The defendant pled guilty to Count Two of the Indictment on July 22, 2020. Accordingly, the defendant is adjudged guilty of
such Count, involving the following offense:

      Title & Section                          Nature of Offense                       Offense Ended                      Count

 18 U.S.C. §  922(g)(1) and              Felon in Possession of Firearm                   12/20/2019                        2
          924(a)(2)

         Upon oral motion of the United States, the Court has dismissed any remaining counts herein as to this defendant.

         As pronounced on December 21, 2020, the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

         It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change of
name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.
If ordered to pay restitution, the defendant must notify the Court and United States Attorney of material changes in economic
circumstances.

         Signed this              day of December, 2020.




                                                                                            ed Stat    District Judge
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DEFENDANT:                  GLEN RICHARD JOHNSON, III
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                                                          IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of
SIXTY (60) MONTHS as to count two.

           The defendant shall remain in custody pending service of sentence.

The Court makes the following recommendations to the Bureau of Prisons:

           To designate defendant to Otisville FCI or Allenwood FCC or to a federal facility close to those in order that the
           defendant may be near family members during the period of confinement.

           The defendant be given access to and participate in the 500 Hour Residential Drug Abuse Program, or alternatively
           that the defendant be given access to and participate in the most intensive drug treatment program available during
           the period of confinement.

           The defendant be given access to and participate in any vocational and job training courses or programs available
           during the period of confinement.

If, for any reason, the Bureau of Prisons does not comply with any recommendation of this Court made in this Judgment and Sentence,
the Bureau of Prisons shall immediately notif' the Court and any reason therefore.




                                                                 RETURN
I   have executed this judgment as follows:




           Defendant delivered on                                      to

at                                            with a certified copy of this judgment.



                                                                                           UNITED STATES MARSHAL




                                                                                                    By
                                                                                        DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                GLEN RICHARD JOHNSON, III
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                                                  SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court, and shall comply with the following additional conditions:

The defendant shall refrain from the use of alcohol and all other intoxicants during the term of
supervision.

The defendant shall not knowingly purchase, possess, distribute, administer, or otherwise use any
psychoactive substances that impair a person's physical or mental functioning, whether or not intended
for human consumption.

The defendant shall participate in a substance abuse treatment program and follow the rules and
regulations of that program. The program may include testing and examination during and after
program completion to determine if the defendant has reverted to the use of drugs or alcohol. A
probation officer may supervise the participation in the program. The defendant shall pay the costs of
such treatment to the extent the defendant is financially able.

The defendant shall participate in a mental health treatment program and follow the rules and
regulations of that program. A probation officer, in consultation with the treatment provider, may
supervise participation in the program. The defendant shall pay the costs of such treatment to the extent
the defendant is financially able.

The defendant shall take all mental health medications that are prescribed by the treating physician who
is treating the defendant.

The defendant shall not communicate, or otherwise interact, with any known member of the Aryan
Circle gang, without first obtaining the permission of the probation officer.
The defendant shall submit his or her person, property, house, residence, office, vehicle, papers,
computers (as defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices
or media, to a search conducted by a United States probation officer. Failure to submit to a search may
be grounds for revocation of release. The defendant shall warn any other occupants that the premises
may be subject to searches pursuant to this condition. The probation officer may conduct a search under
this condition only when reasonable suspicion exists that the defendant has violated a condition of
supervision or that there has been another violation of the law. Any search shall be conducted at a
reasonable time and in a reasonable manner.
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                                         CONDITIONS OF SUPERVISION
Mandatory Conditions:

    [I]   The defendant shall not commit another federal, state, or local crime during the term of supervision.

    [2]   The defendant shall not unlawfully possess a controlled substance.

    [3]    The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
           within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter (as determined
           by the court), but the condition stated in this paragraph may be ameliorated or suspended by the court if the defendant's
           presentence report or other reliable sentencing information indicates low risk of future substance abuse by the defendant.

    [4]    The defendant shall cooperate in the collection of DNA as instructed by the probation officer, if the collection of such a
           sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 14135a).

    [5]    If applicable, the defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42
           U.S.C. § 16901, et. seq.) as instructed by the probation officer, the Bureau of Prisons, or any state sex offender registration
           agency in which the defendant resides, works, is a student, or was convicted of a qualifying offense.

    [6]    If convicted ofa domestic violence crime as defined in   18   U.S.C. § 3561(b), the defendant shall participate in an approved
           program for domestic violence.

    [7]    If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay in accordance with the
           Schedule of Payments sheet of the judgment.

    [8]    The defendant shall pay the assessment imposed in accordance with 18 U.S.C.      §   3013.

    [9]    The defendant shall notify the court of any material change in the defendant's economic circumstances that might affect the
           defendant's ability to pay restitution, fines or special assessments.

Standard Conditions:

    [1]    The defendant shall report to the probation office in the federal judicial district where he or she is authorized to reside
           within 72 hours of release from imprisonment, unless the probation officer instructs the defendant to report to a different
           probation office or within a different time frame.

    [2]    After initially reporting to the probation office, the defendant will receive instructions from the court or the probation
           officer about how and when to report to the probation officer, and the defendant shall report to the probation officer as
           instructed.

    [3]    The defendant shall not knowingly leave the federal judicial district where he or she is authorized to reside without first
           getting permission from the court or the probation officer.

    [4]    The defendant shall answer truthfully the questions asked by the probation officer.

    [5]    The defendant shall live at a place approved by the probation officer. If the defendant plans to change where he or she lives
           or anything about his or her living arrangements (such as the people the defendant lives with), the defendant shall notify
           the probation officer at least 10 days before the change. If notifying the probation officer in advance is not possible due to
           unanticipated circumstances, the defendant shall notify the probation officer within 72 hours of becoming aware of a
           change or expected change

    [6]    The defendant shall allow the probation officer to visit the defendant at any time at his or her home or elsewhere, and the
           defendant shall permit the probation officer to take any items prohibited by the conditions of the defendant's supervision
           that are observed in plain view.
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    17]    The defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
           excuses the defendant from doing so. If the defendant does not have full-time employment, he or she shall try to find full-
           time employment, unless the probation officer excuses the defendant from doing so. If the defendant plans to change
           where the defendant works or anything about his or her work (such as the position or job responsibilities), the defendant
           shall notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10 days in
           advance is not possible due to unanticipated circumstances, the defendant shall notify the probation officer within 72 hours
           of becoming aware of a change or expected change.

    [8]    The defendant shall not communicate or interact with someone the defendant knows is engaged in criminal activity. If the
           defendant knows someone has been convicted of a felony, the defendant shall not knowingly communicate or interact with
           that person without first getting the permission of the probation officer.

    [9]    If the defendant is arrested or questioned by a law enforcement officer, the defendant shall notify the probation officer
           within 72 hours.

    [10]   The defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon
           (i.e., anything that was designed, or was modified, for the specific purpose of causing bodily injury or death to another
           person such as nunchakus or tasers).

    [II]   The defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human source or
           informant without first getting the permission of the court.

    [12]   If the probation officer determines that the defendant poses a risk to another person (including an organization), the
           probation officer may require the defendant to notify the person about the risk and the defendant shall comply with that
           instruction. The probation officer may contact the person and confirm that the defendant has notified the person about the
           risk.

    [13]   The defendant shall follow the instructions of the probation officer related to the conditions of supervision.

    [14]   Ifthejudgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
           penalties in accordance with the Schedule of Payments sheet of the judgment.

    [15]   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
           supervision that the defendant shall provide the probation officer access to any requested financial information.

    [16]   If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
           supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval
           of the probation officer, unless the defendant is in compliance with the payment schedule.

    [17]   If the defendant is excluded, deported, or removed upon release on probation or supervised release, the term of supervision
            shall be a non-reporting term of probation or supervised release. The defendant shall not illegally re-enter the United
            States. If the defendant is released from confinement or not deported, or lawfully re-enters the United States during the
            term of probation or supervised release, the defendant shall immediately report in person to the nearest U.S. Probation
           Office.
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                                         CRIMINAL MONETARY PENALTIES/SCHEDULE
              The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
     forth. Unless the Court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
     penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal Bureau of Prisons'
     Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 501 West Fifth Street, Suite
     1100, Austin, TX 78701. The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
     imposed.

               If the defendant is not now able to pay this indebtedness, the defendant shall cooperate fully with the office of the United
     States Attorney, the Bureau of Prisons and/or the United States Probation Office to make payment in full as soon as possible,
     including during any period of incarceration. Any unpaid balance at the commencement of a term of probation or supervised release
     shall be paid on a schedule of monthly installments to be established by the United States Probation office and approved by the Court.

                                                                             Assessment                                                   Fine                               Restitution
     TOTALS                                                                     $100.00                                                   $.00                                      $.00

                                                                            SPECIAL ASSESSMENT

             It is ordered that the defendant shall pay to the United States a special assessment of$100.00. Payment of this sum shall
     begin immediately.

                                                                                           FINE

                 The fine is waived because of the defendant's inability to pay.




           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in the priority order or
percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all non.federal victims must be paid before the United States is paid.

            If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed. See 18 U.S.C. §3614.

           The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in full before the fifteenth day after the date of the
judgment, pursuant to 18 U.S.C. §361 2(f). All payment options may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

          Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine principal, (6) fine interest,
(7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court costs.

            Findings for the total amount of losses are required under Chapters 1 09A, 110,   11 OA,   and   11 3A   of Title 18 for offenses committed on or after September 13, 1994,
but before April 23, 1996.
